           Case 1:17-po-00927-MSN Document 16 Filed 11/17/17 Page 1 of 2 PageID# 16
Prob 12 (10/09)                                                                                j .'J
VAE (rev. 5/17)                                                                                ji
                                  UNITED STATES DISTMCT COURT                                       '
                                                          for the                                          NOV I T2017 fj
                                   EASTERN DISTRICT OF VIRGINIA

U.S.A. vs. Lavla R. Botwinik                                        Docket No, 1:17P09^7
                                                 Petition on Probation


      COMES NOW Shervlle Gant. PROBATION OFFICER OF THE COURT, presenting an official report
upon the conduct and attitude of Lavla R. Botwinik. who was placed on supervision by the Honorable
Michael S. Nachmanoff, United States Magistrate Judge, sitting in the Court at Alexandria. Virginia, on the IS^Il
day of June. 2017. who fixed the period of supervision at 2 vears. and imposed the general terms and conditions
heretofore adopted by the Court and also imposed special conditions and terms as follows:

          1) The defendant shall enter and successfully complete an alcohol education program as directed.
          2) The defendant shall not operate a motor vehicle anywhere in the United States for a period of one
          (1) year except: a) to, from and as directly required by the defendant's employment, b) to and from the
          probation office, c) to and from the alcohol program, d) to and from this court, e) to and from school for
          herself and her kids, f) to and from the interlock facility, g) for transportation of her minor children
          (schedule to be approved in advance by probation).
          3) The defendant may not operate any motor vehicle unless it is equipped with an alcohol-detecting
          ignition interlock system approved by the probation officer.
          4) The defendant shall serve a period of five (5) days incarceration with the Bureau of Prisons, which
          may be served on weekends or other intermittent times as deemed appropriate by the probation office.
          5) The defendant shall serve five (5) days in home confinement with monitoring at a level the probation
          officer deems appropriate and with timeouts as directed.
          6) The defendant shall pay a $250.00 fine, a $10.00 special assessment and a $30.00 processing fee
          within 90 days.

RESPECTFULLY PRESENTING PETITIGN FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                                     See Attachinent(s)

PRAYING THAT THE COURT WILL ORDER a summons to be issued directing that the offender appear
before the Court to show cause why supervision should not be revoked.


Returnable Date:                           (Q-. eo/jytA



ORDER OF COURT                                                    I declare under the penalty of perjury that the
                                                                  foregoing is true and correct.
Considered and ordered this                day ofP<(A^,
20 W         and ordered filed and made a part of the             Executed on:
records in the above case.                                                -      >-,/// Digitally signed by RandallE.
                                                                                            Hyler
                                                                                            Date: 2017.11.1612:09:05 -OS'OO'

                       ^/s/        ifl A                          Sherylle Gant
      Michael S. Nachmanoff                                       U.S. Probation Officer
      United States Magistrate Judge                              (703)366-2131
Michael S. Nachmanoff
United States Magistrate Judge                                   Place: Manassas, Virginia
TO CLERK'S OFFICE
       Case 1:17-po-00927-MSN Document 16 Filed 11/17/17 Page 2 of 2 PageID# 17

Petition on Probation
Page 2
RE: Botwinik, Layla R.


OFFENSE: Driving Under the Influence, in violation of 32 CFR 234.17(c)(l)(i)

SENTENCE: Two (2) years of supervised probation with special conditions as noted on page 1.

ADJUSTMENT TO SUPERVISION: Ms Botwinik has resided in Maryland since the onset of supervision and
she is supervised by U.S. Probation Officer (USPO) Kendall Ridgley.

USPO Ridgley reported that Ms. Botwinik has maintained a stable residence with her parents and that she is
employed with REI in Rockville, Maryland. An ignition interlock device was installed on Ms. Botwinik's
vehicle on July 28, 2017. She completed her five days of incarceration with the Bureau of Prisons on
August 19, 2017.

Ms. Botwinik's adjustment to supervision has been unsatisfactory due to alcohol use. USPO Ridgley referred
her to an alcohol education program. However, as the result of her continued alcohol use, she related that
Ms. Botwinik will be placed in a substance/alcohol abuse treatment program.

VIOLATIONS: The following violations are submitted for the Court's consideration.

SPECIAL CONDITIGN #6:                  "THE     DEFENDANT     SHALL      PAY     THE     FINE,    SPECIAL
                                       ASSESSMENT AND PROCESSING FEE WITHIN 90 DAYS."

As of November 15, 2017, Ms. Botwinik has failed to make any payments towards her fine, special assessment
and processing fee.

STANDARD CONDITION #8:                 "THE DEFENDANT SHALL REFRAIN FROM EXCESSIVE USE
                                       OF ALCOHOL AND SHALL NOT PURCHASE, POSSESS, USE,
                                       DISTRIBUTE, OR ADMINISTER ANY NARCOTIC OR OTHER
                                       CONTROLLED SUBSTANCE, OR ANY PARAPHERNALIA
                                       RELATED TO SUCH SUBSTANCES, EXCEPT AS PRESCRIBED
                                       BY A PHYSICIAN."

On September 4, 2017, Ms. Botwinik attempted to drive her vehicle and submitted several ignition interlock
readings that detected alcohol, which kept her vehicle from being able to be driven. She submitted several
readings ranging from 0.042-0.181, and several were above the legal limit for driving. Ms. Botwinik admitted
to USPO Ridgley that she had consumed alcohol to excess on September 4, 2017.

The Drager readings for September 4,2017, are listed below:

                        1:26:17 p.m.   0.181%             5:16:21 p.m. 0.120%
                        1:31:59 p.m.   0.159%             5:23:52 p.m. 0.120%
                        1:39:09 p.m.   0.176%             5:30:09 p.m. 0.115%
                        2:45:42 p.m.   0.169%             5:39:29 p.m. 0.117%
                        3:33:04 p.m.   0.151%             5:45:08 p.m. 0.114%
                        3:39:00 p.m.   0.156%             6:44:38 p.m. 0.093%
                        3:49:20 p.m.   0.152%             6:50:17 p.m. 0.091%
                        4:36:48 p.m.   0.139%             8:27:07 p.m. 0.044%
                        4:49:07 p.m.   0.128%             8:32:52 p.m. 0.042%
                        5:05:14 p.m.   0.127%             10:54:33 p.m. 0.000%

SCG/lmg


                                                                                                 Prob 12 (10/09)
                                                                                                 VAE (rev. 5/17)
